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1                     IN THE UNITED STATES DISTRICT COURT
2                  FOR THE EASTERN DISTRICT OF WASHINGTON

3
     PREPARED FOOD PHOTOS, INC.                    Civil Action No. 2:23-cv-00160-TOR
4    f/k/a ADLIFE MARKETING &
     COMMUNICATIONS CO., INC.,
5

6
     Plaintiff,

7    v.                                            JOINT STATUS REPORT

8    POOL WORLD, INC.,
9

10
     Defendant.

11

12

13        a) Suggested deadlines for adding additional parties, amending the
14          pleadings, and seeking class certification
15
              i.   Adding Additional Parties: Plaintiff suggests moving this deadline to
16
                   November 15, 2024 to preserve the rights of the parties should either
17
                   party need to add an additional party. Defendant states that the
18

19                 deadline has passed, and does not agree.

20           ii.   Amending the Pleadings: Plaintiff suggests moving this deadline to
21
                   November 15, 2024 to preserve the rights of the parties should either
22
                   party move to amend the pleadings. Defendant states that the deadline
23
                   has passed, and does not agree.
24


                                               2
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1         iii.   Seeking Class Certification: N/A
2
      b) Whether all non-government corporate parties have filed the necessary
3
         ownership statements. All parties have filed the necessary ownership
4
         statements.
5

6     c) Whether the case involves a minor or incompetent party and whether

7        the appointment of a guardian ad litem is necessary. This case does not
8
         involve a minor or incompetent party. The appointment of a guardian ad
9
         litem is not necessary.
10
      d) Discovery.
11

12          i.   Initial Disclosures: Initial disclosures were first exchanged in August

13               2023. However, Plaintiff suggests moving this deadline to November
14
                 15, 2024 to preserve the rights of the parties should either party want
15
                 to revise its initial disclosures. Defendant does not agree.
16
           ii.   Subjects on which discovery may be needed: Discovery will cover the
17

18
                 validity and ownership of the asserted copyright, whether use of the

19               image was licensed when it was posted in 2010, whether plaintiff has

20               a sound basis for invoking the discovery rule to justify filing suit in
21
                 2022, evidence supporting or opposing the asserted damages, and
22
                 plaintiff’s business practices in both licensing and enforcing its
23
                 claimed copyrights.      Nothing in this recitation represents an
24


                                              3
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1                acknowledgement of the legitimacy or illegitimacy of any discovery
2
                 issue.
3
          iii.   Issues about preserving discoverable information, including
4
                 electronically stored information: None at this time.
5

6         iv.    Claims of privilege, protection of confidentiality, and proposed

7                confidentiality agreements
8
                      o Any stipulation or motion for a confidentiality agreement or
9
                          protective order must be timely filed so as not to delay the
10
                          discovery process or the Court’s deadlines. If confidential
11

12                        records are attached to court filings, “compelling reasons”

13                        must be shown to seal records attached to a dispositive motion
14
                          and “good cause” must be shown to seal records attached to a
15
                          non-dispositive motion. Kamakana v. City and County of
16
                          Honolulu, 447 F.3d 1172, 1178–80 (9th Cir. 2006).
17

18
           v.    Proposed agreements reached under Fed. R. Evid. 502

19                    o The parties have not reached any proposed agreements under

20                        Fed. R. Evid. 502. However, if an issue arises, the parties will
21
                          endeavor to reach agreement.
22
          vi.    Proposed modifications to the standard discovery procedures,
23
                 including bifurcation and/or consolidation of discovery, or an increase
24


                                              4
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1               in the allowed number of depositions (10), interrogatories (25),
2
                requests for production (30), or requests for admission (15)
3
                    o The parties only proposed modifications are that each party
4
                        be permitted to serve no more than 30 requests for admission,
5

6                       including discrete subparts, on any other party, and may take

7                       up to 12 depositions.
8
                    o A party needing relief from these limitations should timely
9
                        seek relief from the Court by motion.
10
         vii.   Suggested expert disclosure deadlines
11

12                  o Plaintiff’s Initial Expert Disclosure: Plaintiff shall identify its

13                      experts and serve those experts’ Rule 26(a)(2) reports on all
14
                        other parties no later than December 2, 2024. Plaintiff shall
15
                        also provide dates for which those experts can be available
16
                        for deposition.
17

18
                    o Defendant’s Expert Disclosure: Defendant shall identify its

19                      experts and serve those experts’ Rule 26(a)(2) reports on all

20                      other parties no later than January 31, 2025. Defendant shall
21
                        also provide dates for which those experts can be available
22
                        for deposition.
23
                    o Plaintiff’s Rebuttal Expert Disclosure: Plaintiff shall identify
24


                                            5
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1                      its rebuttal experts and serve those experts’ Rule 26(a)(2)
2
                       reports on all other parties no later than February 17, 2025.
3
                       Plaintiff shall also provide dates for which those experts can
4
                       be available for deposition.
5

6       viii.   Suggested discovery cut-off

7                   o The parties propose that all discovery, including depositions
8
                       and perpetuation depositions, shall be completed by June 10,
9
                       2025 (“Discovery Cutoff”). To be timely, discovery requests
10
                       must be served sufficiently in advance of the deadline to allow
11

12                     for timely response by the cutoff date. The parties shall not

13                     file discovery, except those portions necessary to support
14
                       motions or objections.
15
      e) Anticipated motions and suggested dispositive motion filing deadline.
16
                    o Plaintiff and Defendant each anticipate bringing dispositive
17

18
                       motions.

19                  o Dispositive and Daubert Motions – The parties suggest that

20                     all dispositive motions and Daubert motions shall be filed on
21
                       or before June 17, 2025. Responses and replies to dispositive
22
                       and Daubert motions shall comply with LCivR 7. No
23
                       supplemental responses or supplemental replies to any
24


                                           6
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1                         dispositive or Daubert motion may be filed without Court
2
                          permission. Dispositive and Daubert motions shall be noted
3
                          for hearing at least fifty (50) days after the date of filing.
4
                      o Motions to Compel – to avoid wasted time and expense, the
5

6                         parties may contact chambers to schedule a telephonic

7                         conference to obtain an expedited ruling on discovery
8
                          disputes. Motions to compel seeking sanctions shall be filed
9
                          in writing.
10
                      o Motions in Limine – all unresolved substantive or evidentiary
11

12                        issues that may foreseeably arise during trial shall be

13                        addressed by motions in limine to be filed and served on or
14
                          before August 5, 2025. Such motions will be addressed and
15
                          resolved at the pretrial conference. However, motions in
16
                          limine may not reargue issues already decided by the Court.
17

18
      f) Trial:

19         i.     Whether a jury has been requested

20                    o A jury has been requested by plaintiff.
21
          ii.     Suggested trial date(s) and location
22
                      o The parties suggest trial occur in Spokane, Washington and
23
                          occurs sometime in the early fall of 2025.
24


                                               7
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1         iii.     Anticipated length of trial
2
                        o Trial is anticipated to take between 3-5 days.
3
          iv.      Requests for bifurcation
4
                        o The parties do not request bifurcation.
5

6          v.      Need for special audio/visual courtroom technology

7                       o The parties do not currently believe there is a need for special
8
                           audio/visual courtroom technology.
9
       g) Likelihood for settlement and the point at which the parties can conduct
10
          meaningful dispute resolution. The parties attempted to resolve the matter
11

12        through a settlement conference with Judge Goeke. It is not likely that the

13        case will settle; however, the parties may be able to narrow the issues for
14
          trial.
15
       h) Any other matters that may be conducive to the just, speedy, and
16
          inexpensive determination of the action. The parties are currently unable
17

18
          to identify any other matters that may be conducive to the just, speedy, and

19        inexpensive determination of the action.

20

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8
     Attorney for Plaintiff
9
     By: /s/ Lauren M. Hausman
10        Lauren M. Hausman, Esq.
11

12                            CERTIFICATE OF SERVICE
13         I hereby certify that on October 23, 2024, I electronically filed the foregoing
14
     document with the Clerk of the Court using CM/ECF, which will electronically
15
     serve all counsel of record.
16

17                                           /s/ Lauren Hausman
                                             Lauren Hausman, Esq.
18

19

20

21

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